Case 21-20416-MAM   Doc 90   Filed 05/09/22   Page 1 of 12
Case 21-20416-MAM   Doc 90   Filed 05/09/22   Page 2 of 12
Case 21-20416-MAM   Doc 90   Filed 05/09/22   Page 3 of 12
Case 21-20416-MAM   Doc 90   Filed 05/09/22   Page 4 of 12
Case 21-20416-MAM   Doc 90   Filed 05/09/22   Page 5 of 12
Case 21-20416-MAM   Doc 90   Filed 05/09/22   Page 6 of 12
Case 21-20416-MAM   Doc 90   Filed 05/09/22   Page 7 of 12
Case 21-20416-MAM   Doc 90   Filed 05/09/22   Page 8 of 12
Case 21-20416-MAM   Doc 90   Filed 05/09/22   Page 9 of 12
Case 21-20416-MAM   Doc 90   Filed 05/09/22   Page 10 of 12
Case 21-20416-MAM   Doc 90   Filed 05/09/22   Page 11 of 12
Case 21-20416-MAM   Doc 90   Filed 05/09/22   Page 12 of 12
